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 7
                         UNITED STATES DISTRICT COURT
 8
                       CENTRAL DISTRICT OF CALIFORNIA
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12   NEMAN BROTHERS & ASSOC.,                     Case No.: 2:20-cv-11181-CAS-JPR
13   INC., a California Corporation;
                                                  PLAINTIFF/CROSS-DEFENDANT
14             Plaintiff/Counter-Defendant,       NEMAN BROTHERS’ APPENDIX OF
15                                                EXHIBITS
               vs.
16
17   INTERFOCUS, INC., a California
     Corporation, et al.,
18              Defendant/Counter-Claimant
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                                APPENDIX OF EXHIBITS
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 1            PLAINTIFF/CROSS-DEFENDANT NEMAN BROTHERS HEREBY SUBMITS
 2   the Appendix of Exhibits in both support of Neman Brothers’ Motion for Summary
 3   Judgment and opposition to Interfocus’ Motion for Summary Judgment as below.
 4
 5
      Exhibit                                   Description
 6
        No.
 7
 8       1       NB161106 (“Subject Design 1”)
 9
         2       Copyright Registration of Subject Design 1
10
11       3       NB170268 (“Subject Design 2”)
12
         4       Copyright Registration of Subject Design 2
13
14       5       NB180228 (“Subject Design 3”)
15
         6       Copyright Registration of Subject Design 3
16
17       7       Swatch Sheet of the Subject Design 1
18
         8       Sales Records of the Subject Design 1
19
20       9       Swatch Sheet of the Subject Design 2
21
         10      Sales Records of the Subject Design 2
22
23       11      Swatch Sheet of the Subject Design 3
24
         12      Sales Records of the Subject Design 3
25
26       13      Navy Floral Dress from the Prior Action (2:19-CV-10112)
27
         14      Cold Shoulder Baby Shirt and Baby Floral Dress from the Prior Action
28



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                                   APPENDIX OF EXHIBITS
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 1     15    Interfocus Webpage displaying the Maternity Round Collar Floral
 2           Sleeveless Dress (“Infringing Garment 1”) (navy)
 3
       16    Pictures of the Infringing Garment 1 (navy)
 4
 5     17    Interfocus Webpage displaying the Infringing Garment 1 (red)
 6
       18    Pictures of the Infringing Garment 1 (red)
 7
 8     19    Interfocus Webpage displaying the Toddler Girl Floral Dress (Infringing
 9           Garment 2)
10
       20    Pictures of the Infringing Garment 2
11
12     21    Interfocus Webpage displaying the Maternity V-neck Dress (Infringing

13           Garment 3)

14
       22    Pictures of the Infringing Garment 3
15
16
17     23    Side-by-side Comparison between Subject Design 1 and Infringing Garment

18           1

19     24    Side-by-side Comparison between Subject Design 2 and Infringing Garment
20           2
21
22
       25    Side-by-side Comparison between Subject Design 3 and Infringing Garment
             3
23
24     26    Email from Interfocus Counsel with Settlement Draft 1 in the Prior Case
25
       27    Email from Neman Brothers Counsel with Settlement Draft 2 in the Prior
26
             Case
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                                APPENDIX OF EXHIBITS
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 1     28    Email from Interfocus Counsel with Settlement Draft 3 in the Prior Case
 2
       29    Email from Neman Brothers Counsel with Settlement Draft in the Prior
 3
             Case
 4
 5     30    Email from Interfocus Counsel approving the Final Draft of the Settlement
 6           Agreement in the Prior Case
 7
       31    Emails exchanged for settlement discussions, dated September 18 and
 8
             September 29, 2020
 9
10     32    Emails exchanged for settlement discussions, dated October 5 and October
11           6, 2020
12
       33    Interfocus Letter dated October 5, 2020
13
14     34    Emails exchanged for settlement discussions, dated October 29, 2020

15
       35    Email from Interfocus Counsel asking for a Settlement Agreement draft
16
             dated November 13, 2020
17
18     36    The First Draft of the Settlement Agreement Negotiated between Neman

19           Brothers and Interfocus (not executed)

20     37    The Final Draft of the Settlement Agreement Negotiated between Neman
21           Brothers and Interfocus (not executed)
22
       38    Ruling on the MSJ in Neman Brothers v. One Step Up (2:17-cv-6400-RGK-
23
             SS)
24
25     39    descriptions on the care tags of the navy dress in the Prior Case and the
26           Infringing Garment 1
27
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                                APPENDIX OF EXHIBITS
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 1       40     descriptions on the care tags of the baby top in the prior case and the
 2              Accused Garment 2
 3
         41     Mark Lee’s Email dated February 2, 2021
 4
 5       42     Interfocus Responses to Neman Brothers’ Interrogatories (Set One)
 6
 7   Dated: July 26, 2021
 8                                                   Respectfully submitted,
 9
                                                     _/s/Chan Yong Jeong______
10
                                                      Chan Yong Jeong, Esq.
11                                                    Attorney for Plaintiff
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                                   APPENDIX OF EXHIBITS
